EXHIBIT 3
/ƚĞŵ                                >ŝŶĞηΖƐ         ůĂŝŵͲϯͬϮϲ   Dz

ůĞĐƚƌŝĐĂů                          ϯϮϮ͕ϯϮϯ             Ϯϭϰ͕ϭϯϱ       ϭϵϬ͕ϬϬϬ
ǆƚĞƌŝŽƌͬ'ĞŶĞƌĂů                               ϮϴϮ        ϭϯ͕ϱϬϬ         ϭϯϱϬϬ
ǆƚĞƌŝŽƌ^ƚĂŝƌǁĂǇ                   Ϯϵϯ͕ϯϭϲ             ϲϲϬ͕ϲϮϰ       ϰϬϬ͕ϬϬϬ
ĞŵŽůŝƚŝŽŶͲ&ƌŽŶƚ                             ϮϵϮ       ϭϯϭ͕ϲϱϲ       ϭϭϬ͕ϬϬϬ
ĞŵŽͲEǁĂůů                       ϯϬϲ͕                ϴϬϰ͕ϱϲϲ       ϳϮϱ͕ϬϬϬ
ĞŵŽůŝƚŝŽŶͲƋƵŝƉ͕DĂƚĞƌŝĂůƐĞƚĐ   ϯϬϳ͕ϯϰϬ͕ϯϰϭ        ϭϬϱ͕ϭϲϲ        ϱϬ͕ϬϬϬ
ĞŵŽůŝƚŝŽŶͲZĞŵŽǀĞ^ƚĂŝƌǁĂǇ                  ϯϮϭ        Ϯϭϵ͕ϰϮϳ       ϭϬϬ͕ϬϬϬ
>ĞĨƚĞůĞǀĂƚŝŽŶ                      ϮϴϰͲϴϲ͕нϯϬϴ      ϭ͕ϬϰϮ͕ϵϵϱ       ϵϬϬ͕ϬϬϬ
,s                                ϮϵϭнϯϮϬ             ϱϰϭϯϲϳ       ϱϬϬ͕ϬϬϬ
ĞďƌŝƐZĞŵŽǀĂů                                ϮϴϬ         ϵϲ͕ϬϬϬ        ϳϱ͕ϬϬϬ
^ĐĂĨĨŽůĚŝŶŐ                                   Ϯϳϭ        ϱϭϮ͕ϱϬϬ       ϯϬϬ͕ϬϬϬ
WŽƐƚͲŽŶƐƚƌƵĐƚŝŽŶůĞĂŶͲƵƉ          ϮϳϯнϮϳϰ              ϯϭϰ͕ϲϮϬ       ϮϮϱ͕ϬϬϬ
KĨĨͲƐŝƚĞƐƚŽƌĂŐĞ                              ϯϬϵ         Ϯϰ͕ϳϲϱ        Ϯϰ͕ϳϲϱ
^ŝƚĞǁŽƌŬͬǆĐĂǀĂƚŝŽŶ                          ϯϯϯ        ϭϮϱ͕ϬϬϬ        Ϯϱ͕ϬϬϬ
ŽŶĐƌĞƚĞ&ŽƵŶĚĂƚŝŽŶ                           ϯϯϰ         Ϯϴ͕ϱϬϬ             Ϭ
'ĞŶĞƌĂůŽŶĚŝƚŝŽŶƐ                  ϮϳϳͲϳϵ͕ϯϰϮ        ϳϴϴ͕Ϭϴϭ       ϱϬϬ͕ϬϬϬ
^hͲdKd>                                              ϱ͕ϲϮϮ͕ϵϬϮ     ϰ͕ϭϯϴ͕Ϯϲϱ
WĂŶĚK,Ɛ                               ϮϬ͘ϬϬй        ϭ͕ϭϮϰ͕ϱϴϬ       ϴϮϳ͕ϲϱϯ
dĂǆ                                       ϴ͘ϴϴй          ϰϵϮ͕ϬϬϯ       ϯϲϮ͕Ϭϵϴ
dŽƚĂů                                                  ϳ͕Ϯϯϵ͕ϰϴϱ     ϱ͕ϯϮϴ͕Ϭϭϲ
&RUDO&U\VWDO//&                                                                                    6FKHGXOH
/RVV6XPPDU\
'DWHRI/RVV'HFHPEHU




                     'HVFULSWLRQ                           5HIHUHQFH            $PRXQW

     /RVW5HQW                                             6FKHGXOH     

     3OXV([WUD([SHQVHV
       +RWHO5RRPVIRU'LVSODFHG7HQDQWV                 6FKHGXOH     
       0RYLQJ)HHVIRU'LVSODFHG7HQDQWV               NSHU7HQDQW   
       ,QFXUUHG([SHQVHV                                 6FKHGXOH     
      6XEWRWDO                                                            


     727$/                                                                




     1RWHV
      :HUHVHUYHWKHULJKWWRXSGDWHDQGRUDPHQGDVUHTXLUHG
&RUDO&U\VWDO//&                                                                                                         6FKHGXOH
/RVW5HQW
'DWHRI/RVV'HFHPEHU




                                                       $QQXDO5HQW
                                                                    $YHUDJH
    8QLW             6T)W          RI7RWDO                   'DLO\5HQW          'D\V2IIOLQH              /RVW5HQW
                                    
                                   
                                   
                                   
                                   
                                   

    7RWDO                                                      

                                                                                                      7RWDO             

6RXUFH/HDVH
&RUDO&U\VWDO//&                                                                6FKHGXOH
+RWHO5RRPVIRU'LVSODFHG7HQDQWV
'DWHRI/RVV'HFHPEHU




+RWHO5RRPVIRU'LVSODFHG7HQDQWV

1XPEHURI5RRPV6XLWHV'LVSODFHG                  

7HQDQWVSHU5RRP6XLWH                            

7RWDO1XPEHURI7HQDQWV'LVSODFHG                 

$PRXQWRI+RWHO5RRPV1HHGHGZLWK
7HQDQWVSHU+RWHO5RRP                            

1LJKWV'LVSODFHG                                  

+RWHO5RRP1LJKWV                                 

+RWHO5RRP5DWH 1RWH                           

7RWDO+RWHO5RRP&KDUJHV                          

1RWHV
 1<8KDVDQDJUHHGUDWHZLWK$IILQLD+RWHO&ROOHFWLRQRIQLJKW

 7KHDERYHFDOFXODWLRQLVEDVHGRQHVWLPDWHV:HUHVHUYHWKHULJKWWRXSGDWH
DQGRUDPHQGRQFHLQFXUUHG
                                                                                                                                                                                           ^ĐŚĞĚƵůĞϱ

                                                                                                                                                                                           WĂŐĞϭŽĨϯ


&RUDO&U\VWDO//&
,QFXUUHG([SHQVHV
'DWHRI/RVV'HFHPEHU



            ,QYRLFH       6RXUFH                                                                                                                                    ,QYRLFH         $PRXQW
 5HI       'DWH       'RFXPHQW   ,QYRLFH                         9HQGRU                                             'HVFULSWLRQ                                $PRXQW          $ZDUGHG
                 ,QYRLFH                $   %(QJLQHHULQJ /DQG6XUYH\LQJ3&   3UHSDUHVXUYH\IRUHQFURDFKPHQWV                               
                 ,QYRLFH      1$        $   %(QJLQHHULQJ /DQG6XUYH\LQJ3&   6XUYH\IRU3URSHUW\/LQH0HHWLQJ                                
                 ,QYRLFH            $   %(QJLQHHULQJ /DQG6XUYH\LQJ3&   6XUYH\IRU3URSHUW\/LQH&RXUW$SSHDUDQFH                       
                 ,QYRLFH            $   %(QJLQHHULQJ /DQG6XUYH\LQJ3&   'D\V:RUN#SHUGD\6ODE/RFDWLRQ                    
                                                                                               6XEWRWDO                                                              


                 ,QYRLFH   %LOO   'DULXV7RUDE\$UFKLWHFWV3&               )HHVIRU([SHUW7HVWLPRQ\HWF                                 
                 ,QYRLFH   %LOO   'DULXV7RUDE\$UFKLWHFWV3&               )HHVIRU([SHUW7HVWLPRQ\HWF                                 
                 ,QYRLFH   %LOO   'DULXV7RUDE\$UFKLWHFWV3&               )HHVIRU([SHUW7HVWLPRQ\HWF                                 
                 ,QYRLFH   %LOO   'DULXV7RUDE\$UFKLWHFWV3&               )HHVIRU([SHUW7HVWLPRQ\HWF                                 
                 ,QYRLFH   %LOO   'DULXV7RUDE\$UFKLWHFWV3&               )HHVIRU([SHUW7HVWLPRQ\HWF                                    
                                                                                               6XEWRWDO                                                             1RQH


                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6WUXFWXUDO(QJLQHHULQJIURPWR                  
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6HUYLFHV5HQGHUHG                                               
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJ5HWDLQHUIRU3HULRG%HJ                    
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJ5HWDLQHUIRUWR'DWH                         
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJIRU6WUXFWXUDO3HULRGWR            
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJIRU6WUXFWXUDO3HULRGWR              
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJIRU6WUXFWXUDO3HULRG0D\WR6HS            
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJIRU6WUXFWXUDO3HULRGWR             
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJIRU6WUXFWXUDO3HULRGWR           
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6WUXFWXUDO(QJLQHHULQJIRU3HULRG0RYLQJ)RUZDUG        
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6WUXFWXUDO(QJLQHHULQJIRUWR                  
                ,QYRLFH           65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         (QJLQHHULQJ6HUYLFHV                                            
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6WUXFWXUDO(QJLQHHULQJIRUWR                   
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6WUXFWXUDO(QJLQHHULQJIRUWR'DWH                      
                ,QYRLFH              65+DUZRRG&RQVXOWLQJ(QJLQHHULQJ3&         6WUXFWXUDO(QJLQHHULQJIRU3HULRGWKLV3HULRGKUV#   
                                                                                               6XEWRWDO                                                              

                ,QYRLFH           &'$UFKLWHFWXUH3//&                        $UFKLWHFWIHHV                                                 
                ,QYRLFH        ,FHEHUJ'HYHORSLQJ&R//&                  ,QVWDOODWLRQRI1HZ:DOO                                        
                ,QYRLFH           ,FHEXUJ'HYHORSLQJ&R//&                  0RYLQJ6WXGHQWV5HPRYLQJ)XUQLWXUH,QVWDOO:DOO«              
                  ,QYRLFH           ,FHEXUJ'HYHORSLQJ&R//&                  0HHWLQJVZLWKHQJLQHHUVDUFKLWHFWVLQVXUHUHWF              
                ,QYRLFH   576     5HGH\H7HFKQLFDO6HUYLFHV,QF              /RFDWLRQ6XUYH\ 'LVFRXQWHGWR                    
                ,QYRLFH            :H[OHU$VVRFLDWHV                            )LHOG9LVLW3UHSDUHG5HSRUW                                     
                ,QYRLFH            :H[OHU$VVRFLDWHV                            )LHOG9LVLW3UHSDUHG5HSRUW                                     
                                                                                               6XEWRWDO                                                               




                                                                                               727$/6                                                                
                                                                                       ^ĐŚĞĚƵůĞϱ

                                                                                      WĂŐĞϮŽĨϯ


&RUDO&U\VWDO//&
,QFXUUHG([SHQVHV
'DWHRI/RVV'HFHPEHU



             ,QYRLFH      6RXUFH                                       ,QYRLFH   $PRXQW
 5HI        'DWH      'RFXPHQW   ,QYRLFH   9HQGRU   'HVFULSWLRQ   $PRXQW    $ZDUGHG
                                                                                       ^ĐŚĞĚƵůĞϱ

                                                                                      WĂŐĞϯŽĨϯ


&RUDO&U\VWDO//&
,QFXUUHG([SHQVHV
'DWHRI/RVV'HFHPEHU



             ,QYRLFH      6RXUFH                                       ,QYRLFH   $PRXQW
 5HI        'DWH      'RFXPHQW   ,QYRLFH   9HQGRU   'HVFULSWLRQ   $PRXQW    $ZDUGHG
1



                     A.C.N.Y. Developers


                Client:    Coral Realty LLC. Coral Crystal LLC
              Property:    201 East 14th Street
                           New York, NY 10003


        Operator Info:
            Operator:      KWILSON


             Estimator:    Ken Wilson                                                            Business:    (631) 445-0042
             Company:      ACNY Developers Inc.
              Business:    618 Columbus Avenue
                           New York, NY 10024


            Reference:     Bill Cook                                                             Business:    (212) 501-0505
             Position:     Owner
            Company:       ACNY Developers Inc.
             Business:     618 Columbus Avenue
                           New York, NY 10024


     Type of Estimate:


           Price List:      NYMN7X_FEB18
     Labor Efficiency:      Restoration/Service/Remodel
            Estimate:       CORALR-04-15-01


    This estimate is based on my visual inspection of the damages on 04/26/2015. Any additional damages discovered
    thereafter will be addressed in a supplemental estimate.

    This Estimate is based on current market conditions (changes in supply and/or changes in demand for labor, supply, equipment
    and/or or energy that cause relatively short-term cost and/or schedule variations) existing as of the date of this Estimate for labor,
    supply, equipment and/or or energy (electric, gas, oil, etc.). Due to the ever-changing market conditions, the prices set forth in
    this Estimate are good only for a period of 180 days from the date of this Estimate. Notwithstanding the same, where the price
    of material, labor, equipment, and/or energy increases significantly -- meaning a change in price within 180 days from the date of
    this Estimate by an amount exceeding 10 percent -- said price shall be equitably adjusted.

    ACNY Developers uses Xactimate®, a software system for estimating the cost of repairs and reconstruction for residential and
    commercial structures as a tool. Based on market conditions, site conditions and/or contractors risk, additional scope items may
    be added to the existing database, and/or items may be modified including description and price, to reflect these conditions.

    Except as may be specifically included in this Estimate, the following are excluded from this Estimate, and if later included, this
    Estimate scope and price shall be equitably adjusted:
    · Code or ADA upgrade work
    · Content manipulation, removal or disposal
    · Extensions or additions to existing footprint of building
    · Mold or asbestos testing or remediation
    · Lead abatement or testing of same
    · Security system(s) or monitoring
    · Utility service charges
    · Foundation or concrete slab repairs
    · Overtime, weekend, or holiday hours
2



                      A.C.N.Y. Developers


     ·   Additional living expenses
     ·   Any/All emergency service work performed to date
     ·   Private Security
     ·   Clean up or disposal of hazardous materials
     ·   Repairs to landscaping, driveways, or sidewalks caused by either the loss or    during construction
     ·   Applicable Federal, State and/or local taxes
     ·   Unforeseen damage or pre-existing structural conditions

     As conditions dictate, we hereby reserve the right to amend this Estimate as necessary throughout the adjustment process.




    CORALR-04-15-01                                                                                            3/26/2018         Page: 2
3



                      A.C.N.Y. Developers



                                                               CORALR-04-15-01
                                                                    Main Level


                                       Lobby                                                                         Height: 12' 8"
                                                    1,265.14   SF Walls                          451.83 SF Ceiling
                                                    1,716.97   SF Walls & Ceiling                451.83 SF Floor
                                                       50.20   SY Flooring                        97.51 LF Floor Perimeter
                                                      102.51   LF Ceil. Perimeter


     Door                                              1' 6" X 1' 6"                  Opens into CHUTE
     Door                                              2' 6" X 6' 8"                  Opens into EXIT_HALLWAY
     Missing Wall - Goes to Floor                      5' X 6' 8"                     Opens into MAIL_ROOM
     Door                                              2' 6" X 6' 8"                  Opens into Exterior
     Door                                              2' 6" X 6' 8"                  Opens into Exterior
     DESCRIPTION                                                    QNTY            REMOVE            REPLACE             TOTAL
     1. R&R 5/8" drywall - hung, taped, floated,               463.54 SF                0.63                 2.86         1,617.75
     ready for paint
     2. R&R Cove base molding - rubber or                       36.42 LF                0.45                 1.89             85.22
     vinyl, 2 1/2" high
     3. R&R Metal studding, 6" wide, 16" OC,                   462.12 SF                0.65                 2.50         1,455.68
     25 gauge
     4. R&R Chair rail - oversized - 3 1/4"                     36.42 LF                0.63                 3.75            159.52
     5. R&R Base cap                                            36.42 LF                0.25                 1.88             77.58
     6. R&R Marble base - High grade                            36.42 LF                3.21                22.06            920.34
     7. Mask and prep for paint - plastic, paper,              102.51 LF                0.00                 1.54            157.87
     tape (per LF)
     8. Seal/prime then paint the walls and                1,716.97 SF                  0.00                 1.73         2,970.36
     ceiling twice (3 coats) - 2 colors
     9. Paint chair rail - two coats                            97.51 LF                0.00                 1.63            158.94
     10. Seal & paint base cap                                  97.51 LF                0.00                 0.90             87.76
     11. Clean and deodorize carpet                            451.83 SF                0.00                 0.42            189.77

     Totals: Lobby                                                                                                        7,880.79




    CORALR-04-15-01                                                                                      3/26/2018             Page: 3
4



                      A.C.N.Y. Developers




                                      Exit Hallway                                                                     Height: 9'
                                                     184.73   SF Walls                           31.99 SF Ceiling
                                                     216.72   SF Walls & Ceiling                 31.99 SF Floor
                                                       3.55   SY Flooring                        20.42 LF Floor Perimeter
                                                      24.33   LF Ceil. Perimeter


     Door                                             2' 6" X 6' 8"                  Opens into LOBBY


                                      Subroom: Exit offset (1)                                                      Height: 8' 9"
                                                      87.50   SF Walls                           24.15 SF Ceiling
                                                     111.65   SF Walls & Ceiling                 24.15 SF Floor
                                                       2.68   SY Flooring                        10.00 LF Floor Perimeter
                                                      13.92   LF Ceil. Perimeter


     Door                                             2' 6" X 6' 8"                  Opens into Exterior
     Missing Wall                                     3' 11" X 8' 9"                 Opens into EXIT_HALLWAY
     Missing Wall                                     5' 9" X 8' 9"                  Opens into STAIRWELL_A
     DESCRIPTION                                                  QNTY             REMOVE            REPLACE            TOTAL
     12. R&R 5/8" drywall - hung, taped,                      148.28 SF                0.63                 2.86            517.50
     floated, ready for paint
     13. R&R Cove base molding - rubber or                     14.92 LF                0.45                 1.89             34.91
     vinyl, 2 1/2" high
     14. R&R Metal studding, 6" wide, 16" OC,                 134.25 SF                0.65                 2.50            422.89
     25 gauge
     15. Remove Emergency lighting - battery -                   1.00 EA              19.05                 0.00             19.05
     Commercial
     16. (Install) Emergency lighting - battery -                1.00 EA               0.00                76.86             76.86
     Commercial
     17. Mask and prep for paint - plastic, paper,             38.25 LF                0.00                 1.54             58.91
     tape (per LF)
     18. Seal/prime then paint the walls and                  328.36 SF                0.00                 1.73            568.06
     ceiling twice (3 coats) - 2 colors
     19. Paint door or window opening - 2 coats                  2.00 EA               0.00                34.81             69.62
     (per side)
     20. Paint door slab only - 2 coats (per side)               2.00 EA               0.00                40.71             81.42
     21. Paint concrete the floor                              56.13 SF                0.00                 1.01             56.69

     Totals: Exit Hallway                                                                                               1,905.91




    CORALR-04-15-01                                                                                     3/26/2018             Page: 4
5



                       A.C.N.Y. Developers




                                        Stairwell A                                                                 Height: 12' 9"
                                                       300.31   SF Walls                          45.52 SF Ceiling
                                                       345.83   SF Walls & Ceiling                45.52 SF Floor
                                                         5.06   SY Flooring                       21.75 LF Floor Perimeter
                                                        21.75   LF Ceil. Perimeter


     Missing Wall                                       5' 9" X 12' 9"                 Opens into EXIT_OFFSET
     DESCRIPTION                                                     QNTY            REMOVE          REPLACE             TOTAL
     22. Mask and prep for paint - plastic, paper,               21.75 LF                0.00                1.54             33.50
     tape (per LF)
     23. Seal/prime then paint the walls and                    345.83 SF                0.00                1.73            598.29
     ceiling twice (3 coats) - 2 colors
     24. Paint stair stringer - one side                         24.67 LF                0.00                4.25            104.85
     25. Paint balustrade - two coats                            12.33 LF                0.00               31.11            383.59
     26. Seal & paint stair tread - per side - per               60.00 LF                0.00                5.99            359.40
     LF
     27. Seal & paint stair riser - per side - per               70.00 LF                0.00                4.00            280.00
     LF
     Includes risers and treads for top and bottom side of each flight
     28. Paint concrete the floor                                45.52 SF                0.00                1.01             45.98

     Totals: Stairwell A                                                                                                 1,805.61

     Total: Main Level                                                                                                  11,592.31


                                                                   Second Floor


                                        Stair A Hall                                                                    Height: 8'
                                                       225.15   SF Walls                          65.57 SF Ceiling
                                                       290.72   SF Walls & Ceiling                65.57 SF Floor
                                                         7.29   SY Flooring                       28.14 LF Floor Perimeter
                                                        33.89   LF Ceil. Perimeter


     Missing Wall                                       5' 9" X 8'                     Opens into STAIR_A
     Door                                               2' 6" X 6' 8"                  Opens into HALLWAY




    CORALR-04-15-01                                                                                     3/26/2018              Page: 5
6



                      A.C.N.Y. Developers



                                                         CONTINUED - Stair A Hall


                                        Subroom: Exit Hall (2)                                                          Height: 8'
                                                      218.00   SF Walls                          42.10 SF Ceiling
                                                      260.10   SF Walls & Ceiling                42.10 SF Floor
                                                        4.68   SY Flooring                       27.25 LF Floor Perimeter
                                                       27.25   LF Ceil. Perimeter


     Door                                              2' 6" X 6' 8"                  Opens into OPEN
     Missing Wall                                      3' 7" X 8'                     Opens into STAIR_A_HALL
     DESCRIPTION                                                    QNTY            REMOVE          REPLACE              TOTAL
     29. R&R 5/8" drywall - hung, taped,                       234.25 SF                0.63                2.86            817.54
     floated, ready for paint
     30. R&R Cove base molding - rubber or                       25.92 LF               0.45                1.89             60.65
     vinyl, 2 1/2" high
     31. R&R Metal studding, 6" wide, 16" OC,                  207.33 SF                0.65                2.50            653.09
     25 gauge
     32. Mask and prep for paint - plastic, paper,               61.14 LF               0.00                1.54             94.16
     tape (per LF)
     33. Seal/prime then paint the walls and                   550.83 SF                0.00                1.73            952.94
     ceiling twice (3 coats) - 2 colors
     34. Paint door or window opening - 2 coats                   2.00 EA               0.00               34.81             69.62
     (per side)
     35. Paint door slab only - 2 coats (per side)                2.00 EA               0.00               40.71             81.42

     Totals: Stair A Hall                                                                                                2,729.42




                                        Stair A                                                                     Height: 12' 6"
                                                      289.70   SF Walls                          43.67 SF Ceiling
                                                      333.36   SF Walls & Ceiling                43.67 SF Floor
                                                        4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                       26.86   LF Ceil. Perimeter


     Missing Wall                                      5' 9" X 12' 6"                 Opens into STAIR_A_HALL
     DESCRIPTION                                                    QNTY            REMOVE          REPLACE              TOTAL
     36. Seal/prime then paint the walls and                   333.36 SF                0.00                1.73            576.71
     ceiling twice (3 coats) - 2 colors
     37. Paint stair stringer - one side                         24.67 LF               0.00                4.25            104.85
     38. Paint balustrade - two coats                            12.33 LF               0.00               31.11            383.59

    CORALR-04-15-01                                                                                     3/26/2018             Page: 6
7



                       A.C.N.Y. Developers



                                                             CONTINUED - Stair A

     DESCRIPTION                                                    QNTY             REMOVE            REPLACE            TOTAL
     39. Seal & paint stair tread - per side - per               60.00 LF                0.00                 5.99            359.40
     LF
     40. Seal & paint stair riser - per side - per               70.00 LF                0.00                 4.00            280.00
     LF
     41. Mask and prep for paint - plastic, paper,               26.86 LF                0.00                 1.54             41.36
     tape (per LF)
     Includes risers and treads for top and bottom side of each flight
     42. Paint concrete the floor                                43.67 SF                0.00                 1.01             44.11

     Totals: Stair A                                                                                                      1,790.02




                                       Hallway                                                                           Height: 8'
                                                     1,761.78   SF Walls                          490.33 SF Ceiling
                                                     2,252.11   SF Walls & Ceiling                490.33 SF Floor
                                                        54.48   SY Flooring                       224.60 LF Floor Perimeter
                                                       224.60   LF Ceil. Perimeter


     Door                                               2' 6" X 6' 8"                  Opens into STAIR_A_HALL
     Door                                               2' 6" X 6' 8"                  Opens into TEL_CLST
     Door                                               2' 6" X 6' 8"                  Opens into MAIN_ROOM
     Door                                               2' 6" X 6' 8"                  Opens into STAIR_B
     Door                                               2' 6" X 6' 8"                  Opens into APT_F
     Door                                               2' 6" X 6' 8"                  Opens into APT_E
     Door                                               2' 6" X 6' 8"                  Opens into APT_D
     Door                                               2' 6" X 6' 8"                  Opens into APT_C
     Door                                               2' 6" X 6' 8"                  Opens into APT_B
     Door                                               2' 6" X 6' 8"                  Opens into APT_A
     Window                                             7' 3" X 4' 10"                 Opens into Exterior
     DESCRIPTION                                                    QNTY             REMOVE            REPLACE            TOTAL
     43. R&R 5/8" drywall - hung, taped,                        126.00 SF                0.63                 2.86            439.74
     floated, ready for paint
     44. R&R Chair rail - 2 1/2"                                 16.50 LF                0.63                 3.41             66.67
     45. R&R Baseboard - 3 1/4"                                  16.50 LF                0.69                 3.52             69.47
     46. R&R Metal studding, 6" wide, 16" OC,                    58.50 SF                0.65                 2.50            184.28
     25 gauge
     47. Remove Emergency lighting - battery -                    1.00 EA               19.05                 0.00             19.05
     Commercial

    CORALR-04-15-01                                                                                       3/26/2018             Page: 7
8



                        A.C.N.Y. Developers



                                                            CONTINUED - Hallway

      DESCRIPTION                                                     QNTY            REMOVE          REPLACE             TOTAL
      48. (Install) Emergency lighting - battery -                 1.00 EA                0.00               76.86             76.86
      Commercial
      49. Mask and prep for paint - plastic, paper,              224.60 LF                0.00                1.54            345.88
      tape (per LF)
      50. Seal/prime then paint the walls and                2,252.11 SF                  0.00                1.73        3,896.15
      ceiling twice (3 coats) - 2 colors
      51. Paint door or window opening - 2 coats                  10.00 EA                0.00               34.81            348.10
      (per side)
      52. Paint door slab only - 2 coats (per side)               10.00 EA                0.00               40.71            407.10
      53. Paint chair rail - two coats                           224.60 LF                0.00                1.63            366.10
      54. Paint baseboard - two coats                            224.60 LF                0.00                1.63            366.10
      55. Clean floor, strip & wax                               490.33 SF                0.00                0.82            402.07

      Totals: Hallway                                                                                                     6,987.57



      Total: Second Floor                                                                                                11,507.01
                                                                      Third Floor


                                         Stair A Hall                                                                    Height: 8'
                                                        252.49   SF Walls                          64.97 SF Ceiling
                                                        317.46   SF Walls & Ceiling                64.97 SF Floor
                                                          7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                         37.31   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 8'                     Opens into STAIR_A
      Door                                               2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                     QNTY            REMOVE          REPLACE             TOTAL
      56. R&R 5/8" drywall - hung, taped,                        128.24 SF                0.63                2.86            447.56
      floated, ready for paint
      57. R&R Cove base molding - rubber or                       14.00 LF                0.45                1.89             32.76
      vinyl, 2 1/2" high
      58. R&R Metal studding, 6" wide, 16" OC,                   112.00 SF                0.65                2.50            352.80
      25 gauge
      59. Mask and prep for paint - plastic, paper,               37.31 LF                0.00                1.54             57.46
      tape (per LF)
      60. Seal/prime then paint the walls and                    317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
     61. Paint door or window opening - 2 coats                    1.00 EA                0.00               34.81             34.81
     (per side)
    CORALR-04-15-01                                                                                      3/26/2018              Page: 8
9



                       A.C.N.Y. Developers



                                                          CONTINUED - Stair A Hall

     DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
     62. Paint door slab only - 2 coats (per side)               1.00 EA                0.00             40.71              40.71

     Totals: Stair A Hall                                                                                              1,515.31




                                        Stair A                                                                   Height: 12' 6"
                                                      289.70   SF Walls                         43.67 SF Ceiling
                                                      333.36   SF Walls & Ceiling               43.67 SF Floor
                                                        4.85   SY Flooring                      21.11 LF Floor Perimeter
                                                       26.86   LF Ceil. Perimeter


     Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
     DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
     63. Seal/prime then paint the walls and                   333.36 SF                0.00              1.73             576.71
     ceiling twice (3 coats) - 2 colors
     64. Paint stair stringer - one side                        24.67 LF                0.00              4.25             104.85
     65. Paint balustrade - two coats                           12.33 LF                0.00             31.11             383.59
     66. Seal & paint stair tread - per side - per              60.00 LF                0.00              5.99             359.40
     LF
     67. Seal & paint stair riser - per side - per              70.00 LF                0.00              4.00             280.00
     LF
     68. Mask and prep for paint - plastic, paper,              26.86 LF                0.00              1.54              41.36
     tape (per LF)
     Includes risers and treads for top and bottom side of each flight
     69. Paint concrete the floor                               43.67 SF                0.00              1.01              44.11

     Totals: Stair A                                                                                                   1,790.02




    CORALR-04-15-01                                                                                   3/26/2018              Page: 9
10



                        A.C.N.Y. Developers




                                         Hallway                                                                          Height: 8'
                                                      1,761.78   SF Walls                          490.33 SF Ceiling
                                                      2,252.11   SF Walls & Ceiling                490.33 SF Floor
                                                         54.48   SY Flooring                       224.60 LF Floor Perimeter
                                                        224.60   LF Ceil. Perimeter


      Door                                               2' 6" X 6' 8"                  Opens into STAIR_A_HALL
      Door                                               2' 6" X 6' 8"                  Opens into MAIN_ROOM
      Door                                               2' 6" X 6' 8"                  Opens into STAIR_B
      Door                                               2' 6" X 6' 8"                  Opens into APT_F
      Door                                               2' 6" X 6' 8"                  Opens into APT_E
      Door                                               2' 6" X 6' 8"                  Opens into APT_D
      Door                                               2' 6" X 6' 8"                  Opens into APT_C
      Door                                               2' 6" X 6' 8"                  Opens into APT_B
      Door                                               2' 6" X 6' 8"                  Opens into APT_A
      Window                                             7' 3" X 4' 10"                 Opens into Exterior
      DESCRIPTION                                                    QNTY             REMOVE            REPLACE            TOTAL
      70. R&R 5/8" drywall - hung, taped,                        126.00 SF                0.63                 2.86            439.74
      floated, ready for paint
      71. R&R Chair rail - 2 1/2"                                 16.50 LF                0.63                 3.41             66.67
      72. R&R Baseboard - 3 1/4"                                  16.50 LF                0.69                 3.52             69.47
      73. R&R Metal studding, 6" wide, 16" OC,                    58.50 SF                0.65                 2.50            184.28
      25 gauge
      74. Remove Emergency lighting - battery -                    1.00 EA               19.05                 0.00             19.05
      Commercial
      75. (Install) Emergency lighting - battery -                 1.00 EA                0.00                76.86             76.86
      Commercial
      76. Mask and prep for paint - plastic, paper,              224.60 LF                0.00                 1.54            345.88
      tape (per LF)
      77. Seal/prime then paint the walls and                2,252.11 SF                  0.00                 1.73        3,896.15
      ceiling twice (3 coats) - 2 colors
      78. Paint door or window opening - 2 coats                  10.00 EA                0.00                34.81            348.10
      (per side)
      79. Paint door slab only - 2 coats (per side)               10.00 EA                0.00                40.71            407.10
      80. Paint chair rail - two coats                           224.60 LF                0.00                 1.63            366.10
      81. Paint baseboard - two coats                            224.60 LF                0.00                 1.63            366.10
      82. Clean floor, strip & wax                               490.33 SF                0.00                 0.82            402.07

      Totals: Hallway                                                                                                      6,987.57




     CORALR-04-15-01                                                                                       3/26/2018            Page: 10
11



                       A.C.N.Y. Developers


                                                                   Apartment G


                                        Back Bedroom                                                                   Height: 8'
                                                       490.67   SF Walls                        184.45 SF Ceiling
                                                       675.12   SF Walls & Ceiling              184.45 SF Floor
                                                        20.49   SY Flooring                      61.33 LF Floor Perimeter
                                                        61.33   LF Ceil. Perimeter


      Door                                              2' 6" X 6' 8"                  Opens into MAIN_ROOM


                                        Subroom: Closet (1)                                                            Height: 8'
                                                       128.32   SF Walls                         12.04 SF Ceiling
                                                       140.36   SF Walls & Ceiling               12.04 SF Floor
                                                         1.34   SY Flooring                      16.04 LF Floor Perimeter
                                                        16.04   LF Ceil. Perimeter


      Door                                              2' 6" X 6' 8"                  Opens into BACK_BEDROOM
      Door                                              2' 6" X 6' 8"                  Opens into BACK_BEDROOM
      DESCRIPTION                                                   QNTY             REMOVE         REPLACE             TOTAL
      83. Content Manipulation charge - per hour                  2.50 HR                0.00             49.25             123.13
      84. R&R 5/8" drywall - hung, taped,                       139.00 SF                0.63              2.86             485.11
      floated, ready for paint
      85. R&R Baseboard - 3 1/4"                                 11.58 LF                0.69              3.52              48.75
      86. R&R Metal studding, 6" wide, 16" OC,                   92.67 SF                0.65              2.50             291.92
      25 gauge
      87. Window drapery - hardware - Detach &                    1.00 EA                0.00             41.11              41.11
      reset
      88. Mask and prep for paint - plastic, paper,              77.37 LF                0.00              1.54             119.15
      tape (per LF)
      89. Seal/prime then paint the walls and                   815.48 SF                0.00              1.42         1,157.98
      ceiling twice (3 coats)
      90. Paint door or window opening - 2 coats                  3.00 EA                0.00             34.81             104.43
      (per side)
      91. Paint door slab only - 2 coats (per side)               3.00 EA                0.00             40.71             122.13
      92. Paint baseboard - two coats                            77.37 LF                0.00              1.63             126.11
      93. Clean floor, strip & wax                              196.49 SF                0.00              0.82             161.12

      Totals: Back Bedroom                                                                                              2,780.94



      Total: Apartment G                                                                                                2,780.94

     CORALR-04-15-01                                                                                   3/26/2018             Page: 11
12



                       A.C.N.Y. Developers


      Total: Third Floor                                                                                                13,073.84
                                                                   Fourth Floor


                                       Stair A Hall                                                                     Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 8'                     Opens into STAIR_A
      Door                                              2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      94. R&R 5/8" drywall - hung, taped,                       128.24 SF                0.63                2.86            447.56
      floated, ready for paint
      95. R&R Cove base molding - rubber or                      14.00 LF                0.45                1.89             32.76
      vinyl, 2 1/2" high
      96. R&R Metal studding, 6" wide, 16" OC,                  112.00 SF                0.65                2.50            352.80
      25 gauge
      97. Mask and prep for paint - plastic, paper,              37.31 LF                0.00                1.54             57.46
      tape (per LF)
      98. Seal/prime then paint the walls and                   317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      99. Paint door or window opening - 2 coats                  1.00 EA                0.00               34.81             34.81
      (per side)
      100. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                               1,515.31




                                       Stair A                                                                      Height: 12' 6"
                                                       289.70   SF Walls                          43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling                43.67 SF Floor
                                                         4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 12' 6"                 Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      101. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
      ceiling twice (3 coats) - 2 colors
      102. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85

     CORALR-04-15-01                                                                                    3/26/2018             Page: 12
13



                        A.C.N.Y. Developers



                                                              CONTINUED - Stair A

      DESCRIPTION                                                     QNTY             REMOVE            REPLACE            TOTAL
      103. Paint balustrade - two coats                            12.33 LF                0.00                31.11            383.59
      104. Seal & paint stair tread - per side - per               60.00 LF                0.00                 5.99            359.40
      LF
      105. Seal & paint stair riser - per side - per               70.00 LF                0.00                 4.00            280.00
      LF
      106. Mask and prep for paint - plastic,                      26.86 LF                0.00                 1.54             41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      107. Paint concrete the floor                                43.67 SF                0.00                 1.01             44.11

      Totals: Stair A                                                                                                       1,790.02




                                        Hallway                                                                            Height: 8'
                                                       1,761.78   SF Walls                          490.33 SF Ceiling
                                                       2,252.11   SF Walls & Ceiling                490.33 SF Floor
                                                          54.48   SY Flooring                       224.60 LF Floor Perimeter
                                                         224.60   LF Ceil. Perimeter


      Door                                                2' 6" X 6' 8"                  Opens into STAIR_A_HALL
      Door                                                2' 6" X 6' 8"                  Opens into MAIN_ROOM
      Door                                                2' 6" X 6' 8"                  Opens into STAIR_B
      Door                                                2' 6" X 6' 8"                  Opens into APT_F
      Door                                                2' 6" X 6' 8"                  Opens into APT_E
      Door                                                2' 6" X 6' 8"                  Opens into APT_D
      Door                                                2' 6" X 6' 8"                  Opens into APT_C
      Door                                                2' 6" X 6' 8"                  Opens into APT_B
      Door                                                2' 6" X 6' 8"                  Opens into APT_A
      Window                                              7' 3" X 4' 10"                 Opens into Exterior
      DESCRIPTION                                                     QNTY             REMOVE            REPLACE            TOTAL
      108. R&R 5/8" drywall - hung, taped,                        126.00 SF                0.63                 2.86            439.74
      floated, ready for paint
      109. R&R Chair rail - 2 1/2"                                 16.50 LF                0.63                 3.41             66.67
      110. R&R Baseboard - 3 1/4"                                  16.50 LF                0.69                 3.52             69.47
      111. R&R Metal studding, 6" wide, 16" OC,                    58.50 SF                0.65                 2.50            184.28
      25 gauge
      112. Remove Emergency lighting - battery -                    1.00 EA               19.05                 0.00             19.05
      Commercial

     CORALR-04-15-01                                                                                        3/26/2018            Page: 13
14



                        A.C.N.Y. Developers



                                                             CONTINUED - Hallway

      DESCRIPTION                                                     QNTY             REMOVE         REPLACE             TOTAL
      113. (Install) Emergency lighting - battery -                 1.00 EA                0.00             76.86              76.86
      Commercial
      114. Mask and prep for paint - plastic,                     224.60 LF                0.00              1.54             345.88
      paper, tape (per LF)
      115. Seal/prime then paint the walls and                  2,252.11 SF                0.00              1.73         3,896.15
      ceiling twice (3 coats) - 2 colors
      116. Paint door or window opening - 2 coats                  10.00 EA                0.00             34.81             348.10
      (per side)
      117. Paint door slab only - 2 coats (per side)               10.00 EA                0.00             40.71             407.10
      118. Paint chair rail - two coats                           224.60 LF                0.00              1.63             366.10
      119. Paint baseboard - two coats                            224.60 LF                0.00              1.63             366.10
      120. Clean floor, strip & wax                               490.33 SF                0.00              0.82             402.07

      Totals: Hallway                                                                                                     6,987.57


                                                                     Apartment G


                                          Back Bedroom                                                                   Height: 8'
                                                         490.67   SF Walls                        184.45 SF Ceiling
                                                         675.12   SF Walls & Ceiling              184.45 SF Floor
                                                          20.49   SY Flooring                      61.33 LF Floor Perimeter
                                                          61.33   LF Ceil. Perimeter


      Door                                                2' 6" X 6' 8"                  Opens into MAIN_ROOM


                                          Subroom: Closet (1)                                                            Height: 8'
                                                         128.32   SF Walls                         12.04 SF Ceiling
                                                         140.36   SF Walls & Ceiling               12.04 SF Floor
                                                           1.34   SY Flooring                      16.04 LF Floor Perimeter
                                                          16.04   LF Ceil. Perimeter


      Door                                                2' 6" X 6' 8"                  Opens into BACK_BEDROOM
      Door                                                2' 6" X 6' 8"                  Opens into BACK_BEDROOM
      DESCRIPTION                                                     QNTY             REMOVE         REPLACE             TOTAL
      121. Content Manipulation charge - per                        2.50 HR                0.00             49.25             123.13
      hour
      122. R&R 5/8" drywall - hung, taped,                        139.00 SF                0.63              2.86             485.11
      floated, ready for paint
     CORALR-04-15-01                                                                                     3/26/2018             Page: 14
15



                       A.C.N.Y. Developers



                                                        CONTINUED - Back Bedroom

      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      123. R&R Baseboard - 3 1/4"                                11.58 LF                0.69                3.52             48.75
      124. R&R Metal studding, 6" wide, 16" OC,                  92.67 SF                0.65                2.50            291.92
      25 gauge
      125. Window drapery - hardware - Detach                     1.00 EA                0.00               41.11             41.11
      & reset
      126. Mask and prep for paint - plastic,                    77.37 LF                0.00                1.54            119.15
      paper, tape (per LF)
      127. Seal/prime then paint the walls and                  815.48 SF                0.00                1.42        1,157.98
      ceiling twice (3 coats)
      128. Paint door or window opening - 2 coats                 3.00 EA                0.00               34.81            104.43
      (per side)
      129. Paint door slab only - 2 coats (per side)              3.00 EA                0.00               40.71            122.13
      130. Paint baseboard - two coats                           77.37 LF                0.00                1.63            126.11
      131. Clean floor, strip & wax                             196.49 SF                0.00                0.82            161.12

      Totals: Back Bedroom                                                                                               2,780.94



      Total: Apartment G                                                                                                 2,780.94

      Total: Fourth Floor                                                                                               13,073.84
                                                                     Fifth Floor


                                       Stair A Hall                                                                     Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 8'                     Opens into STAIR_A
      Door                                              2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      132. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      133. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      134. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      135. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

     CORALR-04-15-01                                                                                    3/26/2018             Page: 15
16



                        A.C.N.Y. Developers



                                                           CONTINUED - Stair A Hall

      DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
      Totals: Stair A Hall                                                                                               682.19




                                        Stair A                                                                    Height: 12' 6"
                                                       289.70   SF Walls                         43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling               43.67 SF Floor
                                                         4.85   SY Flooring                      21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
      136. Seal/prime then paint the walls and                  333.36 SF                0.00              1.73             576.71
      ceiling twice (3 coats) - 2 colors
      137. Paint stair stringer - one side                       24.67 LF                0.00              4.25             104.85
      138. Paint balustrade - two coats                          12.33 LF                0.00             31.11             383.59
      139. Seal & paint stair tread - per side - per             60.00 LF                0.00              5.99             359.40
      LF
      140. Seal & paint stair riser - per side - per             70.00 LF                0.00              4.00             280.00
      LF
      141. Mask and prep for paint - plastic,                    26.86 LF                0.00              1.54              41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      142. Paint concrete the floor                              43.67 SF                0.00              1.01              44.11

      Totals: Stair A                                                                                                   1,790.02



      Total: Fifth Floor                                                                                                2,472.21
                                                                    Sixth Floor




     CORALR-04-15-01                                                                                   3/26/2018             Page: 16
17



                        A.C.N.Y. Developers




                                         Stair A Hall                                                                    Height: 8'
                                                        252.49   SF Walls                          64.97 SF Ceiling
                                                        317.46   SF Walls & Ceiling                64.97 SF Floor
                                                          7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                         37.31   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
       Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       143. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
       paper, tape (per LF)
       144. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
       ceiling twice (3 coats) - 2 colors
       145. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
       (per side)
       146. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

       Totals: Stair A Hall                                                                                                   682.19




                                         Stair A                                                                     Height: 12' 6"
                                                        289.70   SF Walls                          43.67 SF Ceiling
                                                        333.36   SF Walls & Ceiling                43.67 SF Floor
                                                          4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                         26.86   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       147. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
       ceiling twice (3 coats) - 2 colors
       148. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
       149. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
       150. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
       LF
       151. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
       LF
       152. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
       paper, tape (per LF)
       Includes risers and treads for top and bottom side of each flight
      153. Paint concrete the floor                               43.67 SF                0.00               1.01              44.11
     CORALR-04-15-01                                                                                     3/26/2018             Page: 17
18



                        A.C.N.Y. Developers



                                                            CONTINUED - Stair A

      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL

      Totals: Stair A                                                                                                    1,790.02



      Total: Sixth Floor                                                                                                 2,472.21
                                                                  Seventh Floor


                                       Stair A Hall                                                                     Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 8'                     Opens into STAIR_A
      Door                                              2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      154. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      155. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      156. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      157. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                                   682.19




                                       Stair A                                                                      Height: 12' 6"
                                                       289.70   SF Walls                          43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling                43.67 SF Floor
                                                         4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 12' 6"                 Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      158. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
      ceiling twice (3 coats) - 2 colors
     CORALR-04-15-01                                                                                    3/26/2018             Page: 18
19



                         A.C.N.Y. Developers



                                                               CONTINUED - Stair A

       DESCRIPTION                                                    QNTY            REMOVE            REPLACE            TOTAL
       159. Paint stair stringer - one side                       24.67 LF                0.00                 4.25            104.85
       160. Paint balustrade - two coats                          12.33 LF                0.00                31.11            383.59
       161. Seal & paint stair tread - per side - per             60.00 LF                0.00                 5.99            359.40
       LF
       162. Seal & paint stair riser - per side - per             70.00 LF                0.00                 4.00            280.00
       LF
       163. Mask and prep for paint - plastic,                    26.86 LF                0.00                 1.54             41.36
       paper, tape (per LF)
       Includes risers and treads for top and bottom side of each flight
       164. Paint concrete the floor                              43.67 SF                0.00                 1.01             44.11

       Totals: Stair A                                                                                                     1,790.02



       Total: Seventh Floor                                                                                                2,472.21
                                                                        Basement


                                         Stairs to Basement                                                              Height: 10'
                                                        482.49   SF Walls                           73.14 SF Ceiling
                                                        555.63   SF Walls & Ceiling                 73.14 SF Floor
                                                          8.13   SY Flooring                        48.08 LF Floor Perimeter
                                                         51.46   LF Ceil. Perimeter


       Missing Wall                                       2' 6" X 10'                   Opens into Exterior


                                         Subroom: Entry Hall (1)                                                       Height: 9' 6"
                                                        158.76   SF Walls                           22.52 SF Ceiling
                                                        181.28   SF Walls & Ceiling                 22.52 SF Floor
                                                          2.50   SY Flooring                        16.71 LF Floor Perimeter
                                                         20.09   LF Ceil. Perimeter


       Missing Wall                                       3' 4 9/16" X 9' 6"            Opens into STAIRS_TO_BA
       Door                                               2' 6" X 6' 8"                 Opens into Exterior
       DESCRIPTION                                                    QNTY            REMOVE            REPLACE            TOTAL
       165. Seal/prime then paint the walls and                  736.91 SF                0.00                 1.73        1,274.85
       ceiling twice (3 coats) - 2 colors
       166. Paint stair stringer - one side                       57.33 LF                0.00                 4.25            243.65
      167. Paint balustrade - two coats                           12.33 LF                0.00               31.11             383.59
     CORALR-04-15-01                                                                                      3/26/2018             Page: 19
20



                        A.C.N.Y. Developers



                                                       CONTINUED - Stairs to Basement

      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      168. Paint handrail - wall mounted                         14.33 LF                0.00                1.26             18.06
      169. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
      LF
      170. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
      LF
      171. Mask and prep for paint - plastic,                    71.55 LF                0.00                1.54            110.19
      paper, tape (per LF)

      Totals: Stairs to Basement                                                                                         2,669.74

      Total: Basement                                                                                                    2,669.74


                                                                   Eighth Floor


                                        Stair A Hall                                                                    Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 8'                     Opens into STAIR_A
      Door                                              2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      172. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      173. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      174. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      175. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                                   682.19




     CORALR-04-15-01                                                                                    3/26/2018             Page: 20
21



                         A.C.N.Y. Developers




                                         Stair A                                                                     Height: 12' 6"
                                                        289.70   SF Walls                          43.67 SF Ceiling
                                                        333.36   SF Walls & Ceiling                43.67 SF Floor
                                                          4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                         26.86   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       176. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
       ceiling twice (3 coats) - 2 colors
       177. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
       178. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
       179. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
       LF
       180. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
       LF
       181. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
       paper, tape (per LF)
       Includes risers and treads for top and bottom side of each flight
       182. Paint concrete the floor                              43.67 SF                0.00                1.01             44.11

       Totals: Stair A                                                                                                    1,790.02



       Total: Eighth Floor                                                                                                2,472.21
                                                                       Ninth Floor


                                         Stair A Hall                                                                    Height: 8'
                                                        252.49   SF Walls                          64.97 SF Ceiling
                                                        317.46   SF Walls & Ceiling                64.97 SF Floor
                                                          7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                         37.31   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
       Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       183. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
       paper, tape (per LF)
      184. Seal/prime then paint the walls and                   317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
     CORALR-04-15-01                                                                                     3/26/2018             Page: 21
22



                        A.C.N.Y. Developers



                                                           CONTINUED - Stair A Hall

      DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
      185. Paint door or window opening - 2 coats                 1.00 EA                0.00             34.81              34.81
      (per side)
      186. Paint door slab only - 2 coats (per side)              1.00 EA                0.00             40.71              40.71

      Totals: Stair A Hall                                                                                                  682.19




                                        Stair A                                                                    Height: 12' 6"
                                                       289.70   SF Walls                         43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling               43.67 SF Floor
                                                         4.85   SY Flooring                      21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
      187. Seal/prime then paint the walls and                  333.36 SF                0.00              1.73             576.71
      ceiling twice (3 coats) - 2 colors
      188. Paint stair stringer - one side                       24.67 LF                0.00              4.25             104.85
      189. Paint balustrade - two coats                          12.33 LF                0.00             31.11             383.59
      190. Seal & paint stair tread - per side - per             60.00 LF                0.00              5.99             359.40
      LF
      191. Seal & paint stair riser - per side - per             70.00 LF                0.00              4.00             280.00
      LF
      192. Mask and prep for paint - plastic,                    26.86 LF                0.00              1.54              41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      193. Paint concrete the floor                              43.67 SF                0.00              1.01              44.11

      Totals: Stair A                                                                                                   1,790.02



      Total: Ninth Floor                                                                                                2,472.21
                                                                    Tenth Floor




     CORALR-04-15-01                                                                                   3/26/2018             Page: 22
23



                        A.C.N.Y. Developers




                                         Stair A Hall                                                                    Height: 8'
                                                        252.49   SF Walls                          64.97 SF Ceiling
                                                        317.46   SF Walls & Ceiling                64.97 SF Floor
                                                          7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                         37.31   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
       Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       194. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
       paper, tape (per LF)
       195. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
       ceiling twice (3 coats) - 2 colors
       196. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
       (per side)
       197. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

       Totals: Stair A Hall                                                                                                   682.19




                                         Stair A                                                                     Height: 12' 6"
                                                        289.70   SF Walls                          43.67 SF Ceiling
                                                        333.36   SF Walls & Ceiling                43.67 SF Floor
                                                          4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                         26.86   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       198. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
       ceiling twice (3 coats) - 2 colors
       199. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
       200. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
       201. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
       LF
       202. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
       LF
       203. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
       paper, tape (per LF)
       Includes risers and treads for top and bottom side of each flight
      204. Paint concrete the floor                               43.67 SF                0.00               1.01              44.11
     CORALR-04-15-01                                                                                     3/26/2018             Page: 23
24



                        A.C.N.Y. Developers



                                                            CONTINUED - Stair A

      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL

      Totals: Stair A                                                                                                    1,790.02



      Total: Tenth Floor                                                                                                 2,472.21
                                                                  Eleventh Floor


                                       Stair A Hall                                                                     Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 8'                     Opens into STAIR_A
      Door                                              2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      205. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      206. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      207. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      208. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                                   682.19




                                       Stair A                                                                      Height: 12' 6"
                                                       289.70   SF Walls                          43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling                43.67 SF Floor
                                                         4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 12' 6"                 Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      209. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
      ceiling twice (3 coats) - 2 colors
     CORALR-04-15-01                                                                                    3/26/2018             Page: 24
25



                        A.C.N.Y. Developers



                                                              CONTINUED - Stair A

      DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
      210. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
      211. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
      212. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
      LF
      213. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
      LF
      214. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      215. Paint concrete the floor                              43.67 SF                0.00                1.01             44.11

      Totals: Stair A                                                                                                    1,790.02



      Total: Eleventh Floor                                                                                              2,472.21
                                                                   Twelfth Floor


                                        Stair A Hall                                                                    Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
      Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
      DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
      216. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      217. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      218. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      219. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                                   682.19




     CORALR-04-15-01                                                                                    3/26/2018             Page: 25
26



                         A.C.N.Y. Developers




                                         Stair A                                                                     Height: 12' 6"
                                                        289.70   SF Walls                          43.67 SF Ceiling
                                                        333.36   SF Walls & Ceiling                43.67 SF Floor
                                                          4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                         26.86   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       220. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
       ceiling twice (3 coats) - 2 colors
       221. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
       222. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
       223. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
       LF
       224. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
       LF
       225. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
       paper, tape (per LF)
       Includes risers and treads for top and bottom side of each flight
       226. Paint concrete the floor                              43.67 SF                0.00                1.01             44.11

       Totals: Stair A                                                                                                    1,790.02



       Total: Twelfth Floor                                                                                               2,472.21
                                                                  Thirteenth Floor


                                         Stair A Hall                                                                    Height: 8'
                                                        252.49   SF Walls                          64.97 SF Ceiling
                                                        317.46   SF Walls & Ceiling                64.97 SF Floor
                                                          7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                         37.31   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
       Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       227. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
       paper, tape (per LF)
      228. Seal/prime then paint the walls and                   317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
     CORALR-04-15-01                                                                                     3/26/2018             Page: 26
27



                        A.C.N.Y. Developers



                                                           CONTINUED - Stair A Hall

      DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
      229. Paint door or window opening - 2 coats                 1.00 EA                0.00             34.81              34.81
      (per side)
      230. Paint door slab only - 2 coats (per side)              1.00 EA                0.00             40.71              40.71

      Totals: Stair A Hall                                                                                                  682.19




                                        Stair A                                                                    Height: 12' 6"
                                                       289.70   SF Walls                         43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling               43.67 SF Floor
                                                         4.85   SY Flooring                      21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE         REPLACE             TOTAL
      231. Seal/prime then paint the walls and                  333.36 SF                0.00              1.73             576.71
      ceiling twice (3 coats) - 2 colors
      232. Paint stair stringer - one side                       24.67 LF                0.00              4.25             104.85
      233. Paint balustrade - two coats                          12.33 LF                0.00             31.11             383.59
      234. Seal & paint stair tread - per side - per             60.00 LF                0.00              5.99             359.40
      LF
      235. Seal & paint stair riser - per side - per             70.00 LF                0.00              4.00             280.00
      LF
      236. Mask and prep for paint - plastic,                    26.86 LF                0.00              1.54              41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      237. Paint concrete the floor                              43.67 SF                0.00              1.01              44.11

      Totals: Stair A                                                                                                   1,790.02



      Total: Thirteenth Floor                                                                                           2,472.21
                                                                 Fourteenth Floor




     CORALR-04-15-01                                                                                   3/26/2018             Page: 27
28



                        A.C.N.Y. Developers




                                         Stair A Hall                                                                    Height: 8'
                                                        252.49   SF Walls                          64.97 SF Ceiling
                                                        317.46   SF Walls & Ceiling                64.97 SF Floor
                                                          7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                         37.31   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
       Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       238. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
       paper, tape (per LF)
       239. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
       ceiling twice (3 coats) - 2 colors
       240. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
       (per side)
       241. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

       Totals: Stair A Hall                                                                                                   682.19




                                         Stair A                                                                     Height: 12' 6"
                                                        289.70   SF Walls                          43.67 SF Ceiling
                                                        333.36   SF Walls & Ceiling                43.67 SF Floor
                                                          4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                         26.86   LF Ceil. Perimeter


       Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
       DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
       242. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
       ceiling twice (3 coats) - 2 colors
       243. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
       244. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
       245. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
       LF
       246. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
       LF
       247. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
       paper, tape (per LF)
       Includes risers and treads for top and bottom side of each flight
      248. Paint concrete the floor                               43.67 SF                0.00               1.01              44.11
     CORALR-04-15-01                                                                                     3/26/2018             Page: 28
29



                        A.C.N.Y. Developers



                                                            CONTINUED - Stair A

      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL

      Totals: Stair A                                                                                                    1,790.02



      Total: Fourteenth Floor                                                                                            2,472.21
                                                                  Fifteenth Floor


                                       Stair A Hall                                                                     Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 8'                     Opens into STAIR_A
      Door                                              2' 6" X 6' 8"                  Opens into HALLWAY
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      249. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      250. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      251. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      252. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                                   682.19




                                       Stair A                                                                      Height: 12' 6"
                                                       289.70   SF Walls                          43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling                43.67 SF Floor
                                                         4.85   SY Flooring                       21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                      5' 9" X 12' 6"                 Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE          REPLACE             TOTAL
      253. Seal/prime then paint the walls and                  333.36 SF                0.00                1.73            576.71
      ceiling twice (3 coats) - 2 colors
     CORALR-04-15-01                                                                                    3/26/2018             Page: 29
30



                        A.C.N.Y. Developers



                                                              CONTINUED - Stair A

      DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
      254. Paint stair stringer - one side                       24.67 LF                0.00                4.25            104.85
      255. Paint balustrade - two coats                          12.33 LF                0.00               31.11            383.59
      256. Seal & paint stair tread - per side - per             60.00 LF                0.00                5.99            359.40
      LF
      257. Seal & paint stair riser - per side - per             70.00 LF                0.00                4.00            280.00
      LF
      258. Mask and prep for paint - plastic,                    26.86 LF                0.00                1.54             41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      259. Paint concrete the floor                              43.67 SF                0.00                1.01             44.11

      Totals: Stair A                                                                                                    1,790.02



      Total: Fifteenth Floor                                                                                             2,472.21
                                                                  Sixteenth Floor


                                        Stair A Hall                                                                    Height: 8'
                                                       252.49   SF Walls                          64.97 SF Ceiling
                                                       317.46   SF Walls & Ceiling                64.97 SF Floor
                                                         7.22   SY Flooring                       31.56 LF Floor Perimeter
                                                        37.31   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 8'                    Opens into STAIR_A
      Door                                               2' 6" X 6' 8"                 Opens into HALLWAY
      DESCRIPTION                                                     QNTY           REMOVE          REPLACE             TOTAL
      260. Mask and prep for paint - plastic,                    37.31 LF                0.00                1.54             57.46
      paper, tape (per LF)
      261. Seal/prime then paint the walls and                  317.46 SF                0.00                1.73            549.21
      ceiling twice (3 coats) - 2 colors
      262. Paint door or window opening - 2 coats                 1.00 EA                0.00               34.81             34.81
      (per side)
      263. Paint door slab only - 2 coats (per side)              1.00 EA                0.00               40.71             40.71

      Totals: Stair A Hall                                                                                                   682.19




     CORALR-04-15-01                                                                                    3/26/2018             Page: 30
31



                        A.C.N.Y. Developers




                                        Stair A                                                                         Height: 12' 6"
                                                       289.70   SF Walls                             43.67 SF Ceiling
                                                       333.36   SF Walls & Ceiling                   43.67 SF Floor
                                                         4.85   SY Flooring                          21.11 LF Floor Perimeter
                                                        26.86   LF Ceil. Perimeter


      Missing Wall                                       5' 9" X 12' 6"                Opens into STAIR_A_HALL
      DESCRIPTION                                                    QNTY            REMOVE              REPLACE             TOTAL
      264. Seal/prime then paint the walls and                  333.36 SF                 0.00                  1.73            576.71
      ceiling twice (3 coats) - 2 colors
      265. Paint stair stringer - one side                       24.67 LF                 0.00                  4.25            104.85
      266. Paint balustrade - two coats                          12.33 LF                 0.00                 31.11            383.59
      267. Seal & paint stair tread - per side - per             60.00 LF                 0.00                  5.99            359.40
      LF
      268. Seal & paint stair riser - per side - per             70.00 LF                 0.00                  4.00            280.00
      LF
      269. Mask and prep for paint - plastic,                    26.86 LF                 0.00                  1.54             41.36
      paper, tape (per LF)
      Includes risers and treads for top and bottom side of each flight
      270. Paint concrete the floor                              43.67 SF                 0.00                  1.01             44.11

      Totals: Stair A                                                                                                        1,790.02



      Total: Sixteenth Floor                                                                                                 2,472.21


                                        Electrical

      DESCRIPTION                                                    QNTY            REMOVE              REPLACE             TOTAL
      322. Electrician - per hour                             1,350.00 HR                 0.00                120.10       162,135.00
      Electrician per hour to include: (as per bid from Demand Electric - Brooklyn, New York)
      1) all necessary labor required to remove existing BX wiring, devices and conduit from the basement to the 5th floor to allow
      for necessary demo procedures
      2) installation of all temporary conduits, BX wiring, 200 AMP electric panels per floor, fire alarm pull boxes, hi=hats,
      florescent lighting fixtures throughout stairwell, door lock set-ups, cameras, telephones, speaker strobes, exit signs, outlets
      and switches
      3) after all necessary repairs have been completed removal of all temporary conduits, BX wiring, 200 AMP electric panels per
      floor, fire alarm pull boxes, hi=hats, florescent lighting fixtures throughout stairwell, cameras, telephones, speaker strobes,
      outlets and switches will be executed to allow for replacement of all original devices, conduits and BX wiring to bring building
      back to pre-existing condition
      4) re-installation of all wiring, conduits and devices that were removed at the beginning of the project
      323. ELECTRICAL - materials                                 1.00 TL                 0.00             52,000.00        52,000.00


     CORALR-04-15-01                                                                                        3/26/2018            Page: 31
32



                       A.C.N.Y. Developers



                                                           CONTINUED - Electrical

      DESCRIPTION                                                QNTY                REMOVE               REPLACE              TOTAL
      Materials to include: (as per bid from Demand Electric - Brooklyn, New York)
      1) fire alarm pull boxes w/ 4" conduit, door lock set ups for card readers, exit signs, speaker strobes, pull stations, hi=hats,
      florescent light fixtures, cameras, telephones, BX wiring, Cat 5E wiring, fire alarm wiring, temp wiring and fixtures for
      stairwell, all necessary conduits for wiring w/ associated hanging devices, 200 AMP electrical panels, junction boxes, outlets,
      switches and misc. materials

      Totals: Electrical                                                                                                     214,135.00




                                        Exterior/General

      DESCRIPTION                                                QNTY                REMOVE               REPLACE              TOTAL
      282. Detach & Reset Neon sign - large -                  1.00 TL                     0.00                   0.00        13,500.00
      High grade - Duane Reade sign
      Please Note, the removal of the large wall mounted exterior sign will include the following:
      1) scissor lift to remove and reset the sign
      2) capping off of existing electrical feeds leading to the sign
      3) off-site storage for up to 12 months
      4) resetting and re-energizing the sign after the necessary structure repairs have been completed

      Totals: Exterior/General                                                                                                13,500.00




                                        Stairway

      DESCRIPTION                                                QNTY                REMOVE               REPLACE              TOTAL
      293. Structural steel framing - high rise bldg.         24.00 TN                     0.00               3,191.84        76,604.16
      - per ton
      Supply and install structural steel framing to accommodate and support installation of exterior stairwell leading down to the
      street
      325. Concrete Piles - 24" diameter                      60.00 LF                     0.00                135.76          8,145.60
      Footings for vertical structural steel footing
      326. Insulation - ISO board, 1"                          2.50 SQ                     0.00                185.58            463.95
      327. Flashing, 14" wide - copper                        70.00 LF                     0.00                  10.04           702.80
      328. Aluminum termination bar / flashing                24.00 LF                     0.00                   2.60            62.40
      for membrane roofs
      329. Glass mat gypsum - 1/2" - primed                    2.50 SQ                     0.00                199.21            498.03
      330. Modified bitumen roof - hot mopped                  2.50 SQ                     0.00                390.60            976.50
      331. Remove Additional charge for high                   2.50 SQ                     8.04                   0.00            20.10
      roof (2 stories or greater)


     CORALR-04-15-01                                                                                         3/26/2018            Page: 32
33



                        A.C.N.Y. Developers



                                                          CONTINUED - Stairway

      DESCRIPTION                                                 QNTY               REMOVE                REPLACE              TOTAL
      332. Additional charge for high roof (2                  2.50 SQ                      0.00                 18.63                46.58
      stories or greater)
      294. Concrete pump truck (per hour) - 8 hrs             48.00 HR                      0.00                297.57         14,283.36
      per day x 6 days
      296. Concrete slab on grade - 8" - finished          1,440.00 SF                      0.00                   6.71         9,662.40
      in place
      297. Steel rebar - #10 (1-1/4")                        900.00 LF                      0.00                   5.31         4,779.00
      298. Concrete slab reinforcement - #3 (3/8")         1,440.00 SF                      0.00                   0.75         1,080.00
      - grid, 24" ea way
      316. Temporary Egress Staircase from the                 1.00 TL                      0.00            484,285.71        484,285.71
      6th floor to the street - as per proposed
      drawings
      Please Note - the proposed quote includes fabrication of staircase off-site, installation of the staircase and removal of the
      staircase upon completion of the project
      312. Metal studding, 6" wide, 16" OC, 20             3,600.00 SF                      0.00                   2.70         9,720.00
      gauge
      317. Steel door, 3' x 7' - with glass lite               6.00 EA                      0.00              1,475.00          8,850.00
      318. Residential automatic door operator                 6.00 EA                      0.00              1,582.24          9,493.44
      system
      319. Wireless/Keyless entry pad for auto                 6.00 EA                      0.00                140.01            840.06
      door operator system
      Entry door units w/ key less entry and automatic door opener per floor and for the street level entrance
      313. Sheathing - fiberglass gypsum panel -           4,800.00 SF                      0.00                   1.84         8,832.00
      5/8"
      314. 5/8" drywall - hung, taped, floated,            6,000.00 SF                      0.00                   2.86        17,160.00
      ready for paint
      315. Seal/prime then paint the surface area          2,900.00 SF                      0.00                   1.42         4,118.00
      twice (3 coats)
      Includes panting of new drywall for all 6 floors

      Totals: Stairway                                                                                                        660,624.09




                                        Demolition

      DESCRIPTION                                                 QNTY               REMOVE                REPLACE              TOTAL
      292. General Demolition - per hour - front           1,728.00 HR                     76.19                   0.00       131,656.32
      elevation




     CORALR-04-15-01                                                                                          3/26/2018               Page: 33
34



                       A.C.N.Y. Developers



                                                         CONTINUED - Demolition

      DESCRIPTION                                                QNTY                REMOVE                REPLACE              TOTAL
      General Demolition labor to include: 12 men, 8 hrs. per day x 3 days per floor x 6 floors
      1) removal of exterior facade wall panels, window units and backing board per floor directly over the entry foyer roof for the
      purpose of exposing structural support columns and I-beams to allow for installation and erection of the exterior staircase,
      floor decks and wall build outs
      2) complete removal of interior walls where windows and garbage chute are located to allow for access door units to be
      installed in to new stairwell
      Please Note - the temporary stairwell will start one floor above the left elevation (5th floor) where the actual demolition will
      be taking place to allow for the necessary egress to the street
      306. General Demolition - per hour -                10,560.00 HR                     76.19                  0.00        804,566.40
      removal of all structural materials and 7,500
      PSI concrete wall from adjoining building -
      6 floors total
      General Demolition labor to include: 12 men, 8 hrs. per day x 30 days per floor x 5 floors
      1) removal of exterior facade wall panels, backing board, galvanized wall studs, drywall, trim & 7,500 PSI concrete per floor
      on the south side of the building from the 1st floor to the 6th floor for the purpose of exposing structural support columns and
      I-beams to allow for installation of the copper panel system and necessary structural materials needed to return the building
      back to its pre-loss condition.
      All debris will be hand carried through existing stairwell to the street to on-site truck for the purpose of live load disposal
      Please Note - there are 8 weekend days that were deducted from a 30 day month
      321. General Demolition - per hour - front           2,880.00 HR                     76.19                  0.00        219,427.20
      elevation - removal of all temporary
      structural materials
      General Demolition labor to include: 12 men, 8 hrs. per day x 5 days per floor x 6 floors
      1) removal of all temporary building materials to return the building back to pre-loss condition from the basement ot the 6th
      floor
      307. General Demolition Equipment &                      5.00 PF                      0.00              9,750.00         48,750.00
      Materials - electric jack hammers, concrete
      saw cutting equipment w/ diamond blades,
      compressors, hoses & PPE per man, per day
      - per floor
      Please Note - a repair supplement may be needed if the proposed demo procedures and/or heavy equipment needed for this
      project exceeds the proposed amount of time allotted per floor
      340. Neg. air fan/Air scrub.-XLrg (per 24 hr           300.00 DA                      0.00                155.00         46,500.00
      period)-No monit.
      Please Note - HEPA equipped air scrubber will be placed on both sides of the hallway during the demo procedures to control
      the migration of dust throughout the building. The primary filter will be replaced once a week throughout the demo
      procedures
      341. Add for HEPA filter (for neg. air                  40.00 EA                      0.00                247.91          9,916.40
      machine/vacuum - Large)

      Totals: Demolition                                                                                                    1,260,816.32




                                      Left Elevation


     CORALR-04-15-01                                                                                          3/26/2018            Page: 34
35



                       A.C.N.Y. Developers



                                                       CONTINUED - Left Elevation

      DESCRIPTION                                                QNTY               REMOVE                  REPLACE          TOTAL
      285. Copper Panel Installer per hour - per          4,224.00 HR                      0.00               129.19      545,698.56
      hour
      286. Copper Panel General Laborer - per             2,112.00 HR                      0.00                 49.25     104,016.00
      hour
      Copper Panel Installer labor per hour to include:
      1) fabrication of exterior grade copper panels on site using pneumatic break to create clasped attachment joint to allow for
      soldered seams
      2) installation of copper lentil at the 8' height per floor to hold panels in place prior to soldering procedures
      3) vertical & horizontal soldering of the copper panels to create a water tight seam
      284. (Material Only) Copper panel sytstem           4,500.00 SF                      0.00                 14.43      64,935.00
      for south exterior wall - standing seam 1" -
      20 oz - fabricated on site - includes waste
      305. Premium self adhering SBS asphalt                 43.00 SQ                      0.00               565.88       24,332.84
      water barrier - Fully adhered system - 90
      mil
      287. Provide and install new elastomeric            4,224.00 LF                      0.00                  7.50      31,680.00
      sealant in vertical and horizontal panel
      joints
      288. Provide and install metal flashing and           240.00 LF                      0.00                 45.00      10,800.00
      counterflashing where needed to correspond
      with panel placement between levels
      300. Lag bolt - 1/2" x " - hex lag screw -          1,584.00 EA                      0.00                 13.95      22,096.80
      zinc plated
      289. Fire retardant insulation - Spray-on           3,024.00 SF                      0.00                  1.65        4,989.60
      mineral fiber
      290. Acoustical/fire-safing insulation - 6"         3,024.00 SF                      0.00                  1.51        4,566.24
      mineral wool
      301. Moisture protection for exterior walls -       3,024.00 SF                      0.00                  0.47        1,421.28
      visqueen - 6 mil
      302. Metal studding, 6" wide, 16" OC, 20            3,024.00 SF                      0.00                  2.70        8,164.80
      gauge
      303. Sheathing - fiberglass gypsum panel -          4,500.00 SF                      0.00                  1.84        8,280.00
      5/8"
      304. 5/8" drywall - hung, taped, floated,           4,500.00 SF                      0.00                  2.86      12,870.00
      ready for paint
      324. Drywall Installer / Finisher - per hour          100.00 HR                      0.00                 91.44        9,144.00
      Drywall labor per hour to include:
      1) scrape, tape, spackle and sand affected areas not being replaced - 20 hours per floor x 5 floors
      308. Supply, install and remove temporary                1.00 TL              190,000.00                   0.00     190,000.00
      stainless steel trash chute from the 6th floor
      to the basement during necessary repairs




     CORALR-04-15-01                                                                                         3/26/2018          Page: 35
36



                       A.C.N.Y. Developers



                                                         CONTINUED - Left Elevation

       DESCRIPTION                                                 QNTY                REMOVE                REPLACE              TOTAL
       Please Note - the proposed costs for the trash chute include:
       1) removal of the existing chute from the 5th floor to the basement
       2) fabrication of 2' wide stainless steel chute to be attached the exiting chute on a 45 degree angle at the 5th floor and street
       level
       3) fabrication of trash chute doors on each floor for the purpose of access for all students and building staff
       4) removal of temporary chute after necessary repairs have been completed
       5) re-installation of existing trash chute and doors back to pre-loss condition

       Totals: Left Elevation                                                                                                 1,042,995.12




                                       HVAC

       DESCRIPTION                                                 QNTY                REMOVE                REPLACE              TOTAL
       291. HVAC - supply, install and remove                    1.00 TL                      0.00            515,450.00        515,450.00
       roof mounted units for the purpose of air
       conditiong existing areas and proper
       pressurization of exterior stairwell
       HVAC bid item to include the following: (as per bid from Nelson Air Device - Maspeth, New York)
       1) remove, relocate and re-install 6 wall mounted convector units presently in front of the windows from the 2nd floor to the
       6th floor
       2) remove A/C unit front the entry foyer roof and relocate on the roof temporarily while structure repairs are being
       performed (18 story building). After repairs have been completed the A/C will be re-installed at it present location
       3) supply and install all necessary ductwork from the buildings roof through the stairwell and in to the reception area for the
       purpose of positive pressure and heat inside of the new staircase.
       4) includes the cost of large crane w/ necessary permits and fees that will require that the street be closed down twice between
       14th and 15th street on 3rd avenue on approved Saturdays by the NYC Dept of Building to allow installation of roof top units
       and removal of said units after all necessary repairs have been completed
       5) attached cost includes the all necessary man hours, supervision, materials and cost HVAC units. (all costs to be determined
       after final drawings have been approved by NYC Building Dept and subsequent parties involved with this claim)
       320. Fire Sprinklers - extend 2" fire                     6.00 EA                      0.00              4,319.56         25,917.36
       sprinklers pipes w/ new heads per floor and
       return to existing locations after repairs
       have been completed
       Includes purging and testing of existing system from the basement to the 6th floor. There will be a total 3 sprinklers per floor
       that will require rerouting to properly protect existing ares and the new stairwell being installed

       Totals: HVAC                                                                                                             541,367.36




                                       Debris Removal

       DESCRIPTION                                                 QNTY                REMOVE                REPLACE              TOTAL
      280. Live load pick up per CY - includes                960.00 CY                    100.00                    0.00        96,000.00
      loading debris into dump truck
     CORALR-04-15-01                                                                                            3/26/2018            Page: 36
37



                      A.C.N.Y. Developers



                                                         CONTINUED - Debris Removal

      DESCRIPTION                                                 QNTY              REMOVE                REPLACE              TOTAL
      Please Note - due to the weight of the 7,500 PSI concrete that is being removed, the CY cost has been changed to reflect the
      cost of debris removal in Manhattan. The total of amount of debris being removed is subject to change and a repair
      supplement might be required after a manifest of the debris being removed has been presented

      Totals: Debris Removal                                                                                                 96,000.00




                                      Scaffolding

      DESCRIPTION                                                 QNTY              REMOVE                REPLACE              TOTAL
      271. Scaffolding - provide suspended                     18.00 EA                    0.00             27,500.00       495,000.00
      electric scaffolding & side walk roof
      Scaffolding system to include:
      1) 23 total material drops, 8 initial set ups and approx. 18 moves to allow for necessary demo, build out and breakdown of
      entire staircase system
      272. Scaffolding - scaffolding insurance ,                1.00 TL                    0.00             17,500.00        17,500.00
      permits and fees
      Please Note - scaffolding insurance, permits and fees is generally paid as incurred. The attached cost for these items will be
      subject to change upon execution of this aforementioned project.

      Totals: Scaffolding                                                                                                   512,500.00




                                      Post Construcion Clean Up

      DESCRIPTION                                                 QNTY              REMOVE                REPLACE              TOTAL
      274. Cleaning - Supervisory/Administrative -          2,080.00 HR                    0.00                 60.50       125,840.00
      per hour
      273. Cleaning Technician - incl. cleaning             4,160.00 HR                    0.00                 45.38       188,780.80
      agent - per hour
      Cleaning Technician labor to include: 3 man staff per floor x 5 days - 5 floors total for approx. 52 weeks
      1) perform post construction clean up of all affected floors throughout the building during and after necessary demo &
      structure repairs have been completed. These procedures will be performed on a weekly basis due to the building being
      occupied by students/residents/staff

      Totals: Post Construcion Clean Up                                                                                     314,620.80




                                      Off Site Storage

      DESCRIPTION                                                 QNTY              REMOVE                REPLACE              TOTAL

     CORALR-04-15-01                                                                                         3/26/2018            Page: 37
38



                      A.C.N.Y. Developers



                                                      CONTINUED - Off Site Storage

      DESCRIPTION                                                QNTY               REMOVE                REPLACE              TOTAL
      309. Packaging, Handling, Storage - off site            48.00 UN                     0.00                365.00         17,520.00
      storage
      Off Site Storage to include:
      1) off site storage for the following items to be re-installed after necessary structure repairs have been completed (affected
      windows, doors, heating units, garbage chute doors and A/C unit on lower roof above entry way) for 1 year. The terms of the
      storage will be adjusted as per the length of the project. Includes packing out and protection of said items prior to being
      moved off site
      2) 4 large units x 12 months (actual storage duration to be determined)
      335. Moving van (24' - 27') and equipment -              4.00 EA                     0.00                190.29            761.16
      per day
      337. Contents Evaluation and/or                         16.00 HR                     0.00                 60.50            968.00
      Supervisor/Admin - per hour
      336. Inventory, Packing, Boxing, and                  112.00 HR                      0.00                 49.25          5,516.00
      Moving charge - per hour
      8 men, 8 hrs each x 2 days for moving the structural items to an off site storage location for the duration of the project and
      returning said items to the building to be re-installed

      Totals: Off Site Storage                                                                                                24,765.16




                                     Site Work/Excavation

      DESCRIPTION                                                QNTY               REMOVE                REPLACE              TOTAL
      333. CONCRETE & ASPHALT                                  1.00 TL                     0.00            125,000.00        125,000.00
      Site work/Excavation on 3rd Avenue to include the following items:
      1) Permits/lane closures for the sidewalk - includes 5' long plastic jersey barricades, metal decking road plates (2 month
      rental period) & delivery charge for metal road plates - $ 12,500
      2) Street work removals - includes chopping/saw cutting concrete sidewalk flags and pavement and necessary equipment/man
      power needed to perform necessary task - $ 17,500
      3) Excavation - underground utility survey, excavation and necessary equipment/man power needed to perform necessary
      task - $ 65,000
      4) Backfill - control fill and necessary equipment/man power needed to perform necessary task - $ 25,000
      5) Permits and associated Fees - will be needed for professional engineering drawings for sheeting, cylinder compression
      testing, 2 slump tests, 3/4" stone gravel test and a concrete compaction test (all costs to be determined) - $5,000

      Totals: Site Work/Excavation                                                                                           125,000.00




                                     Concrete Foundation

      DESCRIPTION                                                QNTY               REMOVE                REPLACE              TOTAL
      334. CONCRETE & ASPHALT                                  1.00 EA                     0.00             28,500.00         28,500.00


     CORALR-04-15-01                                                                                         3/26/2018            Page: 38
39



                      A.C.N.Y. Developers



                                                   CONTINUED - Concrete Foundation

      DESCRIPTION                                                QNTY                REMOVE               REPLACE              TOTAL
      Concrete Foundation on 3rd Avenue to include the following items:
      1) Spread concrete footings - includes #5 rebars1' O.C. each way w/ epoxy coat, form stripping, allowance for removal of
      forms, allowance for short load fee and necessary equipment/man power needed to perform necessary task - $8,000
      2) Sidewalk Restoration - includes gravel fill, 4000 PSI concrete, welded wire fabric, allowance for short load fee & broom
      finish and necessary equipment/man power needed to perform necessary task - $7,500
      3) Tie beams - includes tyeing in foundation so it is rigid, rebar w/ ties 12" O.C., form stripping, allowance for removal of
      forms and necessary equipment/man power needed to perform necessary task - $12,000
      4) Permits and associated Fees - will be needed for a cylinder compression testing, 2 slump tests and 3/4" stone gravel test (all
      costs to be determined) - $1,000

      Totals: Concrete Foundation                                                                                             28,500.00




                                       General Conditions

      DESCRIPTION                                                QNTY                REMOVE               REPLACE              TOTAL
      277. Commercial Supervision / Project                 4,160.00 HR                    0.00                  85.01       353,641.60
      Management - per hour
      2 Supervisors, 8 hrs. per day x 5 days x 52 weeks
      342. Safety Monitor - per hour                        2,080.00 HR                    0.00                125.00        260,000.00
      OSHA regulations and training specify that a safety monitor is a worker whose SOLE DUTY is to protect up to 8 other
      workers. Safety calculations are based on labor hours provided by Xactimate, in compliance with OSHA 1926.502 (h) (1).
      278. General Laborer - per hour                       2,080.00 HR                    0.00                  49.25       102,440.00
      General Labor to include:
      1) protection of common hallways, stairwells and entry foyer during the structure repair procedures
      2) additional labor required to load and unload structure materials in a residential area with limited parking
      3) labor associated with hand carrying necessary structural materials through narrow stairwells to designated floors where
      work is being performed
      4) daily site clean up of work areas
      2 men, 4 hrs. per day x 5 day work week for 52 weeks
      279. Taxes, insurance, permits & fees (Bid               1.00 TL                     0.00             72,000.00         72,000.00
      item)
      Please Note - all necessary permits and fees are to be paid as incurred (this cost excludes the price of an expediter) Attached is
      the approx. costs for the permits and fees that will be required by the NYC Building Dept.

      Totals: General Conditions                                                                                             788,081.60

      Line Item Totals: CORALR-04-15-01                                                                                    5,704,488.71




     CORALR-04-15-01                                                                                         3/26/2018            Page: 39
40



                    A.C.N.Y. Developers




      Grand Total Areas:
          193,684. SF Walls                111,295. SF Ceiling               304,979. SF Walls and Ceiling
               34                                33                                67


          111,296. SF Floor               12,366.24 SY Flooring             23,767.95 LF Floor Perimeter
                16
              0.00 SF Long Wall                0.00 SF Short Wall           23,965.04 LF Ceil. Perimeter

          111,296. Floor Area              116,035. Total Area               194,198. Interior Wall Area
                16                              98                                68


         41,115.42 Exterior Wall Area      5,594.71 Exterior Perimeter of
                                                    Walls

              0.00 Surface Area                0.00 Number of Squares            0.00 Total Perimeter Length
              0.00 Total Ridge Length          0.00 Total Hip Length




     CORALR-04-15-01                                                                        3/26/2018          Page: 40
41



                        A.C.N.Y. Developers




                                                           Summary
      Line Item Total                                                             5,704,488.71
      Overhead                          @          10.0%                           561,499.17
      Profit                            @          10.0%                           561,499.17
      Total Tax(Rep-Maint)              @         8.875%                           599,529.11

      Replacement Cost Value                                                     $7,427,016.16
      Net Claim                                                                  $7,427,016.16




                                              Ken Wilson




     CORALR-04-15-01                                                 3/26/2018          Page: 41
42



                     A.C.N.Y. Developers



                                           Recap by Room

     Estimate: CORALR-04-15-01

     Area: Main Level
            Lobby                                           7,880.79    0.14%
            Exit Hallway                                    1,905.91    0.03%
            Stairwell A                                     1,805.61    0.03%

            Area Subtotal: Main Level                      11,592.31    0.20%

     Area: Second Floor
            Stair A Hall                                    2,729.42    0.05%
            Stair A                                         1,790.02    0.03%
            Hallway                                         6,987.57    0.12%

            Area Subtotal: Second Floor                    11,507.01    0.20%

     Area: Third Floor
            Stair A Hall                                    1,515.31    0.03%
            Stair A                                         1,790.02    0.03%
            Hallway                                         6,987.57    0.12%

     Area: Apartment G
            Back Bedroom                                    2,780.94    0.05%

            Area Subtotal: Apartment G                      2,780.94    0.05%

            Area Subtotal: Third Floor                     13,073.84    0.23%

     Area: Fourth Floor
            Stair A Hall                                    1,515.31    0.03%
            Stair A                                         1,790.02    0.03%
            Hallway                                         6,987.57    0.12%

     Area: Apartment G
            Back Bedroom                                    2,780.94    0.05%

            Area Subtotal: Apartment G                      2,780.94    0.05%

            Area Subtotal: Fourth Floor                    13,073.84    0.23%

     Area: Fifth Floor
            Stair A Hall                                      682.19    0.01%
            Stair A                                         1,790.02    0.03%

            Area Subtotal: Fifth Floor                      2,472.21    0.04%

     CORALR-04-15-01                                        3/26/2018    Page: 42
43



                     A.C.N.Y. Developers


     Area: Sixth Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Sixth Floor      2,472.21    0.04%

     Area: Seventh Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Seventh Floor    2,472.21    0.04%

     Area: Basement
            Stairs to Basement              2,669.74    0.05%

            Area Subtotal: Basement         2,669.74    0.05%

     Area: Eighth Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Eighth Floor     2,472.21    0.04%

     Area: Ninth Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Ninth Floor      2,472.21    0.04%

     Area: Tenth Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Tenth Floor      2,472.21    0.04%

     Area: Eleventh Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Eleventh Floor   2,472.21    0.04%

     Area: Twelfth Floor
            Stair A Hall                      682.19    0.01%
            Stair A                         1,790.02    0.03%

            Area Subtotal: Twelfth Floor    2,472.21    0.04%

     Area: Thirteenth Floor
     CORALR-04-15-01                        3/26/2018    Page: 43
44



                      A.C.N.Y. Developers


             Stair A Hall                            682.19     0.01%
             Stair A                               1,790.02     0.03%

             Area Subtotal: Thirteenth Floor       2,472.21     0.04%

     Area: Fourteenth Floor
            Stair A Hall                             682.19     0.01%
            Stair A                                1,790.02     0.03%

             Area Subtotal: Fourteenth Floor       2,472.21     0.04%

     Area: Fifteenth Floor
            Stair A Hall                             682.19     0.01%
            Stair A                                1,790.02     0.03%

             Area Subtotal: Fifteenth Floor        2,472.21     0.04%

     Area: Sixteenth Floor
            Stair A Hall                             682.19     0.01%
            Stair A                                1,790.02     0.03%

             Area Subtotal: Sixteenth Floor        2,472.21     0.04%
             Electrical                          214,135.00     3.75%
             Exterior/General                     13,500.00     0.24%
             Stairway                            660,624.09    11.58%
             Demolition                        1,260,816.32    22.10%
             Left Elevation                    1,042,995.12    18.28%
             HVAC                                541,367.36     9.49%
             Debris Removal                       96,000.00     1.68%
             Scaffolding                         512,500.00     8.98%
             Post Construcion Clean Up           314,620.80     5.52%
             Off Site Storage                     24,765.16     0.43%
             Site Work/Excavation                125,000.00     2.19%
             Concrete Foundation                  28,500.00     0.50%
             General Conditions                  788,081.60    13.82%

     Subtotal of Areas                         5,704,488.71    100.00%


     Total                                     5,704,488.71    100.00%




     CORALR-04-15-01                               3/26/2018      Page: 44
45



                   A.C.N.Y. Developers


                                             Recap by Category

      O&P Items                                                       Total          %
      CLEANING                                                     316,339.02    4.26%
      CONCRETE & ASPHALT                                           191,450.36    2.58%
      CONTENT MANIPULATION                                             246.26    0.00%
      CONT: PACKING,HANDLNG,STORAGE                                 24,765.16    0.33%
      GENERAL DEMOLITION                                         1,444,034.35   19.44%
      DOORS                                                          8,850.00    0.12%
      DRYWALL                                                       47,674.83    0.64%
      ELECTRICAL                                                   214,135.00    2.88%
      HEAVY EQUIPMENT                                               48,750.00    0.66%
      FLOOR COVERING - STONE                                           803.43    0.01%
      FLOOR COVERING - VINYL                                           198.94    0.00%
      FINISH CARPENTRY / TRIMWORK                                      629.62    0.01%
      FINISH HARDWARE                                               10,333.50    0.14%
      FIRE PROTECTION SYSTEMS                                       25,917.36    0.35%
      FRAMING & ROUGH CARPENTRY                                     57,093.60    0.77%
      HAZARDOUS MATERIAL REMEDIATION                                56,416.40    0.76%
      HEAT, VENT & AIR CONDITIONING                                515,450.00    6.94%
      INSULATION                                                     9,555.84    0.13%
      LABOR ONLY                                                   716,081.60    9.64%
      LIGHT FIXTURES                                                13,807.44    0.19%
      MOISTURE PROTECTION                                            1,421.28    0.02%
      PAINTING                                                      70,849.97    0.95%
      ROOFING                                                      784,212.66   10.56%
      SCAFFOLDING                                                  495,000.00    6.66%
      STEEL COMPONENTS                                             560,889.87    7.55%
      WINDOW TREATMENT                                                  82.22    0.00%
      O&P Items Subtotal                                         5,614,988.71   75.60%

      Non-O&P Items                                                   Total          %
      PERMITS AND FEES                                             72,000.00     0.97%
      SCAFFOLDING                                                  17,500.00     0.24%
      Non-O&P Items Subtotal                                        89,500.00    1.21%
      O&P Items Subtotal                                         5,614,988.71   75.60%
      Overhead                           @        10.0%            561,499.17    7.56%
      Profit                             @        10.0%            561,499.17    7.56%
      Total Tax(Rep-Maint)               @       8.875%            599,529.11    8.07%

      Total                                                      7,427,016.16   100.00%




     CORALR-04-15-01                                               3/26/2018      Page: 45
46

     Basement




      CORALR-04-15-01   3/26/2018   Page: 46
47

     Main Level




      CORALR-04-15-01   3/26/2018   Page: 47
48

     Second Floor




       CORALR-04-15-01   3/26/2018   Page: 48
49

     Third Floor




       CORALR-04-15-01   3/26/2018   Page: 49
50

     Fourth Floor




       CORALR-04-15-01   3/26/2018   Page: 50
51

     Fifth Floor




       CORALR-04-15-01   3/26/2018   Page: 51
52

     Sixth Floor




       CORALR-04-15-01   3/26/2018   Page: 52
53

     Seventh Floor




       CORALR-04-15-01   3/26/2018   Page: 53
54

     Eighth Floor




       CORALR-04-15-01   3/26/2018   Page: 54
55

     Ninth Floor




       CORALR-04-15-01   3/26/2018   Page: 55
56

     Tenth Floor




       CORALR-04-15-01   3/26/2018   Page: 56
57

     Thirteenth Floor




       CORALR-04-15-01   3/26/2018   Page: 57
58

     Eleventh Floor




       CORALR-04-15-01   3/26/2018   Page: 58
59

     Fourteenth Floor




       CORALR-04-15-01   3/26/2018   Page: 59
60

     Twelfth Floor




       CORALR-04-15-01   3/26/2018   Page: 60
61

     Fifteenth Floor




       CORALR-04-15-01   3/26/2018   Page: 61
62

     Sixteenth Floor




       CORALR-04-15-01   3/26/2018   Page: 62
